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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

USA,
                      Plaintiff,                                    4:12CB3001
       vs.
                                                         MODIFIED CONDITIONS OF
NYLE T. BARTLING,                                              PROBATION
                      Defendant.


       IT IS ORDERED that the defendant remains on probation subject to the following
conditions:

       1)      The defendant shall comply with all terms and conditions of this court’s prior
order of probation and, in addition;


       2)      The defendant shall provide his probation officer with the information necessary
to retrieve defendant’s college grades electronically. Absent a substantial explanation, if the
defendant’s grades fall below a “C” average in any class, or if the defendant fails to comply with
his study table requirements, he is subject to revocation of his probation and a sentence of
incarceration on the underlying charges.


       October 4, 2012.

                                                    BY THE COURT:
                                                    s/ Cheryl R. Zwart
                                                    United States Magistrate Judge
